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       Fill   in   this information to Ident1fy your case

       United States Bankruptcy Court for the:

       Southern District of Florida

       Case number (If known): _ _ _ _ _ _ _ _ _ _ _ Chapter you are filing under:
                                                       Chapter?            •
                                                       Chapter11           •
                                                       Chapter 12          •                                                              D Check if this is an
                                                       Chapter 13          l!f'
                                                                                                                                             amended filing


 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         04/20

 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
 joint case-and in Joint cases, these forms use you to ask for Information from both debtors. For example, If a form asks, "Do you own a car,"
 the answer would be yes if either debtor owns a car. When Information Is needed about the spouses separ~tely, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 In all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.


rill                  Identify Yourself

                                              About Debtor 1:                                                About Debtor 2 (Spouse Only In a Joint Case):
: 1.     Your full name
         Write the name that is on your
         government-issued picture
                                               Annetta                                                       Curtis
         identification (for example,         First name                                                     First name
         your driver's license or
         passport).                           Middle name                                                    Middle name

         Bring your picture                    McCalla                                                        McNeal
         identification to your meeting       Last name                                                      Last name
         with the trustee.
                                              Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr., Jr., II, Ill)




 2.      All other names you
         have used in the last 8               First name                                                    First name
         years
         Include your married or              Middle name                                                    Middle name
         maiden names.
                                              Last name                                                      Last name


                                              First name                                                     First name


                                              Middle name                                                    Middle name


                                              Last name                                                      Last name




 3.      Only the last 4 digits of                                    _1___5___
                                                                              4 __6_
                                              XXX           XX -                                            XXX       -    XX -     _2___4___
                                                                                                                                            7 __9_
         your Social Security
         number or federal                    OR                                                            OR
         Individual Taxpayer
                                                                                                            9 xx - xx -_2___o___
                                                                                                                               o___1 _
------------------~--,....,-•:•_,_...,.....,______________________
         Identification number                9 xx - xx -_5___6___
                                                                 6 __9_
         (ITIN)

  Official Form 101                                         Voluntary Petition for Individuals FIiing for Bankruptcy                                  page 1
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Debtor 1        Annetta                                    Mccalla                                        Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                 Last Name




                                            About Debtor 1:                                                   About Debtor 2 {Spouse Only In a Joint Case):


4.    Any business names
      and Employer                          Iii    I have not used any business names or EINs.                Iii    I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
      the last 8 years                      Business name                                                     Business name

       Include trade names and
       doing business as names
                                            Business name                                                     Business name



                                            EIN                                                               EIN



                                            EIN                                                               EIN




s. Where you live                                                                                             If Debtor 2 llves at a different address:


                                            1251 NW 51 AVE                                                    1251 NW 51 AVE
                                            Number           Street                                           Number           Street




                                            LAUDERHILL                                FL        33313         LAUDERHILL                                FL         33313
                                            City                                      State    ZIP Code       City                                      State    ZIP Code



                                            County                                                            County


                                            If your malling address Is different from the one                 If Debtor 2's mailing address Is different from
                                            above, flll It In here. Note that the court will send             yours, flll It in here. Note that the court will send
                                            any notices to you at this mailing address.                       any notices to this mailing address.



                                            Number           Street                                           Number           Street



                                            P.O. Box                                                          P.O. Box



                                            City                                     State     ZIP Code       City                                      State    ZIP Code




s. Why you are choosing                     Check one:                                                        Check one:
      this district to file for
      bankruptcy                            ll:I Over the last 180 days before filing this petition,          ll:I Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any                  I have lived in this district longer than in any
                                                   other district.                                                   ot!ler district.

                                            •      I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)
                                                                                                              •      I have another reason. Explain.
                                                                                                                     (See 28 U.S.C. § 1408.)




_____________________,_.___,,,,_,__.,..._,,,..,..____,,_,_,._"';r,,.·------------
     Official Form 101                                   Voluntary Petition for Individuals FIiing for Bankruptcy                                         page 2
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Debtor 1        Annetta                                 McCalla                                       Case number (if known) _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name              Last Name




•iii          Tell the Court About Your Bankruptcy Case


7. The chapter of the                       Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to flle
      under
                                            •   Chapter?

                                            •   Chapter 11

                                            D   Chapter 12

                                            ~ Chapter 13

                          r\(V\
e. How you will pay the fee:.:....:e-1 will pay the entire fee when I flle my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                            '191need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            •   I request that my fee be waived (You may request this option or,ly if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.    Have you flled for                    •   No
                                                                                                                                                    ··-lD
                                                                                                                                                      \         I
      bankruptcy within the
                                            0Yes.      District    Southern                  When    03/09/2019        Case number   19- 135 26           ''-
      last 8 years?
                                                                                                     MM/ DD/YYYY

                                                       District    Southern                  When    03/26/2020        Case number   20- 139?8
                                                                                                     MM/ DD/YYYY

                                                       District    Southern                  When    10/25/2021        Case number   21 -20206
                                                                                                     MM/ DD/YYYY



10.   Are any bankruptcy                    ~ No
      cases pending or being
      filed by a spouse who is              •   Yes.   Debtor                                                          Relationship to you
      not flllng this case with                        District                              When                      Case number, if known
      you, or by a business                                                                          MM/DD /YYYY
      partner, or by an
      affiliate?
                                                       Debtor                                                          Relationship to you

                                                       District                              When                      Case number, if known
                                                                                                     MM/DD/YYYY



11.   Do you rent your                      el No.   Go to line 12.
      residence?                            D   Yes. Has your landlord obtained an eviction judgment against you?

                                                       D    No. Go to line 12.
                                                       D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                            part of this bankruptcy petition.




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l   Debtor 1          Annetta                           McCalla                                      Case number (UlmOwnl_ _ _ _ _ _ _ _ _ _ _ _ __



                   Report About Any Busln•••• You Own •• a Sola Proprietor


    12.   Are you a sole proprietor        liiil No. Go to Part 4.
          of any full- or part-time
          business?                        •    Yes. Name and location of business
           A sole proprietorship is a
           business you operate as an
           individual, and is not a                  Name of business, if any
          separate legal entity such as
          a corporation, partnership, or
           LLC.                                      Number      Street
          If you have more than one
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                           City                                                   State       ZIP. Code

                                                     Check the appropriate box to describe your business:
                                                    •    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    •   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                    •    Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                    •   Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                                    •    None of the above


    1a. Are you flllng under               If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
          Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
          Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
          are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                           if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1115(1 )(B).
          debtor or a debtor as
          defined by 11 U.S. C. §          ii No.   I am not filing under Chapter 11.
          1182(1)?
          For a definition of small
                                           •   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                    the Bankruptcy Code.
          business debtor, see             D   Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
          11 U.S.C. § 101(51D).
                                                    Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                           •   Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                    Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




    Official Form 101                               Voluntary Petition for lndlvlduals Filing for Bankruptcy                                  page4
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Debtor 1      Annetta                               Mccalla                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name    Mkidle Name            Last Name




             Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               iia No
     property that poses or is
     alleged to pose a threat             •   Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                             If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property? - - - - - - - , - - - - - - - - - - - - - - - - - - - - - -
                                                                           Number         Street




                                                                           City                                      State    ZIP Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptc;y                       page 5
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Debtor 1     Annetta                              Mccalla                                          Case number (Hknownl_ _ _ _ _ _ _ _ _ _ _ _ __
             FiBIName       -Name               Last Name




           Explain Your Efforts to Receive           •   Briefing About Credit Coun-llng

                                     About Debtor 1:                                                   About Debtor 2 (Spouse Only In a Joint Cue):
1s. Tell the court whether
   you have received a
   briefing about credit             You must check one:                                                You must check one:
   counsel Ing.
                                     rJ I  received a briefing from an approved credit                 D   I received a briefing from an approved credit
                                                                                                           counseling agency within the 180 day• before 1
                                         counseling agency within the 180 days before I
                                         tiled this bankruptcy petition, and I received a                  tiled this bankruptcy petition, and I received a
   The law requires that you
                                         certificate ot completion.                                        certificate ot completion.
   receive a briefing about credit
   counseling before you file for        Attach a copy of the certificate and the payment                  Attach a copy of the certificate and the payment
   bankruptcy. You must         •        plan, if any, that you developed with the agency.                 plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you         •   I received a briefing from an approved credit                 •   I received a briefing from an approved credit
                                                                                                           counaellng agency within the 180 days before I
   cannot do so, you are not             counseling agency within the 180 days before I
   eligible to file.                     flied this bankruptcy petition, but I do not have a               tlled this bankruptcy petition, but I do not have a
                                         certificate ot completion.                                        certificate of completion.
   If you file anyway, the court         Within 14 days after you file this bankruptcy petition,           Within 14 d..ys after you file this bankruptcy petition,
   can dismiss your case, you            you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
   will lose whatever filing fee         plan, if any.                                                     plan, if any.
   you paid, and your creditors
   can begin collection adivities    •   I certify that I asked for credit counseling                  •   I certify that I asked tor credit counseling
                                                                                                           services from an approved agency, but was
   again.                                services from an approved agency, but was
                                         unable to obtain those services during the 7                      unable to obtain those services during the 7
                                         days after I made my request, and exigent                         days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                         of the requirement.                                               ot the requirement

                                         To ask for a 30-day temporary waiver of the                       To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                   requirement, attach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                 what efforts you made to obtain the briefing, why
                                         you were unable to obtain it before you filed for                 you were unable to obtain it before you filed for
                                         bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                         required you to file this case.                                   required you to file this case.
                                         Your case may be dismissed if the court is                        Your case may be dismissed if the court is
                                         dissatisfied with your reasons for not receiving a                dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                         briefing bef,,.-e you filed for bankruptcy.
                                         If the court is satisfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                         still receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file.
                                         You must file a certificate from the approved                     You must file a certificate from the approved
                                         agency, along with a copy of the payment plan you                 agency, along with a copy of the payment plan you
                                         developed, if any. If you do not do so, your case                 developed, if any. If you do not do so, your case
                                         may be dismissed.                                                 may be dismissed.
                                         Any extension of the 30-day deadline is granted                   Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                                                                                           days.
                                         days.
                                     •   I am not required to receive a briefing about                 •   I am not required to receive a briefing about
                                         credit counseling because of:                                     credit counseling because ot:

                                         •   Incapacity.    I have a mental illness or a mental            •   Incapacity.    I have a mental illness or a mental
                                                            deficiency that makes me                                          deficiency that makes me
                                                            incapable of realizing or making                                  incapable of realizing or making
                                                            rational decisions about finances.                                rational decisions about finances.
                                         •   Disability.    My physical disability causes me               •   Dlsablllty.    My physical disability causes me
                                                                                                                              to be unable to participate in a
                                                            to be unable to participate in a
                                                            briefing in person, by phone, o•                                  briefing in person, by phone, or
                                                            through the internet, even after I                                through the internet, even after I
                                                            reasonably tried to do so.                                        reasonably tried to do so.

                                         D   Active duty. I am currently on adive military                 •   Active duty. I am currently on active military
                                                                                                                            duty in a military combat zone.
                                                          duty in a military combat zone.
                                         If ,-ou believe you are not required to receive a                 If you believe you are not required to receive a
                                         briefing about credit counseling, you must file a                 briefing about credit counseling, you must file a
                                         motion for waiver of credit counseling with the court.            motion for waiver of credit counseling with the court.




 Official Form 101                              Voluntary Petition for lndlvlduals Flllng for Bankruptcy                                       page6
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J
    Debtor 1       Annetta                                    Mccalla                                                    Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name   Middle Name                 Last Name




                 Answer These Questions for Reporting Purposes

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16. What kind of debts do                      as "incurred by an individual primarily for a personal, family, or household purpose."
          you have?
                                                     D     No. Go to line 16b.
                                                     i2I   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.

                                                     D     No. Go to line 16c.
                                                     D     Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.



    11. Are you filing under
          Chapter7?                           121   No. I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after          D     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                                     0 No
          administrative expenses
          are paid that funds wlll be                      D Yes
          available for distribution
          to unsecured creditors?

    1s.   How many creditors do               i2I   1-49                                    0   1,000-5,000                                     0   25,001-50,000
          you estimate that you               0     50-99                                   0   5,001-10,000                                    0   50,001-100,000
          owe?                                0     100-199                                 0   10,001-25,000                                   D   More than 100,000



    19.
                   • 200-999
    --------------------------,,,,
          How much do you
                                  .... ..
                                              0     $0-$50,000
                                                                                            ,


                                                                                            D
                                                                                                __   ,.,.,.-   ................
                                                                                                $1,000,001-$10 million                          D   $500,000,001-$1 billion
          estimate your assets to             •     $50,001-$100,000                        D   $10,000,001-$50 million                         •   $1,000,000,001-$10 billion
          be worth?                           0     $100,001-$500,000                       •   $50,000,001-$100 million                        D   $10,000,000,001-$50 billion
                                              i2I   $500,001-$1 million               D         $100,000,001-$500 million                       D   More than $50 billion
                                                                                    -----
    20. How much do you                       0     $0-$50,000                              •   $1,000,001-$10 million                          D $500,000,001-$1 billion
          estimate your liabilities           0     $50,001-$100,000                        D   $10,000,001-$50 million                         l::J $1,000,000,001-$10 billion
          to be?                              •     $100,001-$500,000                       D   $50,000,001-$100 million                        •   $10,000,000,001-$50 billion
                                              i2I   $500,001-$1 million                     •   $100,000,001-$500 million                       D   More than $50 billion

    •@fl         Sign Below

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                   correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              l e ~ ...                                ~
                                                    Signature of Debtor 1                                                         Signature of Debtor 2

                                                    Executed on         5--qo--u__
                                                                        MM   / DD   /YYYY
                                                                                                                                  Executed on    'l."J /2ofvv2~
                                                                                                                                                MM/1\)D   /
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Debtor 1                                                                                              Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name                 Last Name




For you if you are filing this                The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                         should understand that many people find it extremely difficult to represent
attorney                                      themselves successfully. Because bankruptcy has long-term financial and legal
                                              consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                       To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                       technical, and a mistake or inaction may affect your rights. For example, your case may be
                                              dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                              hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                              firm if your case is selected for audit. If that happens, you could lose your right to file another
                                              case, or you may lose protections, including the benefit of the automatic stay.

                                              You must list all your property and debts in the schedules that you are required to file with the
                                              court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                              in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                              property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                              also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                              case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                              cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                              Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                              If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                              hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                              successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                              Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                              be familiar with any state exemption laws that apply.

                                              Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                              consequences?
                                              0    No
                                              8J-.ves

                                              Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                              inaccurate or incomplete, you could be fined or imprisoned?
                                              0    No
                                              l]J_yes

                                              Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                              IZJ.--rlro
                                              D    Yes. Name of Person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                              By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                              have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                              attorney may cause me to lose my rights or property if I do not properly handle the case.



                                         j(       ~
                                               Signature of Debtor 1                                          Signature of Debtor 2


                                              Date            ~~~""2_(_                                       Date               S-7..D-<-L
                                                                                                                               MM/ DD /YYYY

                                              Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                        Contact phone

                                              Cell phone                                                      Cell phone


                                              Email address                                                   Email address



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                               PA   10;<22

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    r/<11 fl/ /.!Lti,;   tf edil /VJ    4 tv MJ'{Y) er,,,I     CJ( parn /,fnv
    101    1-/vckg111 sf, "Sers€.'j f!.,lj                 Jo?-so5
